                McNees Wallace & Nurick LLC                                             Erik Roberts Anderson
                100 Pine Street                                                        Direct Dial: 717.237.5420
                                                                                              Fax: 717.237.5300
                Harrisburg, PA 17101                                                 eanderson@mcneeslaw.com




                                              January 7, 2025

Via ECF

The Honorable Joseph F. Leeson, Jr.
United States District Court
504 W. Hamilton Street
Allentown, PA 18101

Re:       Smith v. The Fintex Group, LLC et al. (5:24-cv-02134-JFL)

Dear Judge Leeson:

I submit this letter brief consistent with your Dec. 17 Order.1 My Dec. 3 letter briefly describes the
origin and nature of this privilege dispute.2

California privilege law applies.3

       The attorney-client privilege “has been a hallmark of Anglo–American jurisprudence for
almost 400 years.” Costco Wholesale Corp. v. Superior Ct., 219 P.3d 736, 741 (Cal. 2009) (quoting

1
    Doc. 42 § 1(b).
2
    Doc. 37 at pp. 1–2.
3
  Under Federal Rule of Evidence 501, “in a civil case, state law governs privilege regarding a
claim or defense for which state law supplies the rule of decision.” Because all of Plaintiff’s claims
are state law claims, state privilege law applies. But what state’s law? Under a choice of law
analysis, California law should apply.
In Harrisburg Authority v. CIT Capital USA, Inc., the court applied Pennsylvania’s choice of law
principles to conclude that New York privilege laws applied. The court reasoned:
          [N]either the attorneys [] nor client [] implicated in the instant privilege dispute are
          located in Pennsylvania. Further, there is no indication that the [attorney-client]
          relationship arose in Pennsylvania. Thus there are no Pennsylvania litigants seeking
          protection of the attorney-client privilege, meaning that application of New York’s
          law would not impair Pennsylvania’s interest in protecting its litigants.
716 F. Supp. 2d 380, 391 (M.D. Pa. 2010).
New York, the court explained, had an interest in its privilege law applying because the client was
headquartered in New York, the employees receiving legal advice resided there, and many of the
communications at issue occurred there. Id. Here, the same is true of California: Fintex is
headquartered in California; Mr. Weinstein resides in California; Loeb & Loeb is headquartered
in California; the attorney-client relationship was forged in California; and the client receiving the
legal advice and asserting the privilege is headquartered in California.
Mitchell v. Superior Ct., 691 P.2d 642, 645 (Cal. 1984)). “Its fundamental purpose ‘is to safeguard
the confidential relationship between clients and their attorneys so as to promote full and open
discussion of the facts and tactics surrounding individual legal matters.’” Id. (quoting Mitchell,
691 P.2d at 646).

        Under California law, a “client, whether or not a party, has a privilege . . . to prevent another
from disclosing, a confidential communication between [the] client and lawyer[.]” Cal. Evid. Code
§ 954. A “‘client’ means a person who, directly or through an authorized representative, consults
a lawyer for the purpose of retaining the lawyer or securing legal service or advice from him in his
professional capacity[.]” Id. § 951. And a “‘confidential communication between client and
lawyer’ means information transmitted between a client and his . . . lawyer in the course of that
relationship and in confidence.” Id. § 952. To be a “confidential communication,” it is not
disclosed to any “third persons other than those who are present to further the interest of the client
in the consultation or those to whom disclosure is reasonably necessary for the transmission of the
information or the accomplishment of the purpose for which the lawyer is consulted[.]” Id. And it
“includes a legal opinion formed and the advice given by the lawyer in the course of th[e]
relationship” with the client. Id. “The attorney-client privilege attaches to a confidential
communication between the attorney and the client and bars discovery of the communication
irrespective of whether it includes unprivileged material.” Costco Wholesale Corp., 219 P.3d at
741.

        “Where communications between a client and attorney have been disclosed to a third party,
the burden is on the party asserting the privilege to show that it applies despite that disclosure.”
Anderson v. SeaWorld Parks & Ent., Inc., 329 F.R.D. 628, 632 (N.D. Cal. 2019) (citing Behunin
v. Sup. Ct., 215 Cal.Rptr.3d 475, 484 (Cal Ct. App. 2017)). “Disclosure of privileged
communications to a third party will not destroy the privilege where” one of two conditions exist.
Id. First, “the third party is an agent or assistant who will help to advance the litigant’s interests.”
Id. (quoting Behunin, 215 Cal.Rptr.3d at 485). Or, second, “the third party is not in any sense an
agent of the litigant or attorney but is a person with interests of his . . . own to advance in the
matter, interests that are in some way aligned with those of the litigant.” Id. (quoting Behunin, 215
Cal.Rptr.3d at 485).

The “Disputed Control Group Documents”4 are privileged and barred from disclosure.

     Plaintiff contends that Defendants waived privilege as to the Disputed Control Group
Documents.5 This contention is wrong.

        First, Plaintiff received these communications exclusively as a Fintex agent and co-
venturer. In other words, he “further[ed] the interest of” Defendants in Defendants’ “consultations”
with their outside counsel, Loeb & Loeb. See Cal. Evid. Code § 952; Anderson, 329 F.R.D. at 632
(stating that the privilege is not destroyed where “the third party is an agent or assistant who will
help to advance the litigant’s interests.” (quoting Behunin, 215 Cal.Rptr.3d at 485)). Likewise, by
engaging in these communications, Plaintiff was “reasonably necessary for the transmission of the
information or the accomplishment of the purpose for which” Defendants consulted Loeb. Cal.
Evid. Code § 952.

4
 See Doc. 37 at pp. 1–2 (defining the term as “materials . . . where, at the time they were created
and/or at the time Plaintiff had access to them, Plaintiff was part of [Fintex’s] control group.”).
5
    Doc. 43 at p. 5.

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        Second, federal courts across the country have held that former company agents cannot
waive that entity’s attorney-client privilege, even if they previously had access to the documents
at issue. Consider Montgomery v. eTreppid Techs., LLC, 548 F. Supp. 2d 1175 (D. Nev. 2008).6
There, the plaintiff argued that the defendant-company could “not assert the attorney-client
privilege against him with respect to privileged communications created [while] he was a manager
and member of [the company].” Id. at 1177.

         The court did not agree. The court concluded that the defendant-company was “the sole
client[,]” and, so, it held “the attorney-client privilege.” Id. at 1187. Thus, the plaintiff could not
“access [the defendant-company’s] attorney-client privileged communications.” Id. The court
reached this conclusion partly because the former manager did not sue “on behalf of [the company]
or in his capacity as a former manager or officer. Rather, [he] . . . su[ed] to benefit himself
individually—a perfectly acceptable position, but not one which should entitle him to [the
company’s] attorney-client privileged communications.” Id. Further, the plaintiff was “now
adverse to [the defendant-company] and [could] not obtain privileged documents over the
objection of current management.” Id. Finally, “even though [the former manager] would have
had access to such documents during his time at [the company], he still would have been duty-
bound to keep such information confidential.” Id.

       These principles apply here. Plaintiff is suing for his own benefit; he is adverse to
Defendants; he was duty bound, as an agent and co-venturer, to not disclose confidential
information; and Loeb & Loeb’s sole client is and was Fintex. Thus, Plaintiff’s erstwhile access to
the Disputed Control Group Documents did not waive Defendants’ privilege.7



6
  See also Dexia Credit Local v. Rogan, 231 F.R.D. 268, 277 (N.D. Ill. 2004) (noting that “the
reason former control group members may not waive the corporate privilege is because the
privilege was never theirs in the first place—either when they were control group members, or
when they left that capacity.”).
7
  There is a contrary approach. In Gottlieb v. Wiles, the court found that a company cannot assert
the attorney-client privilege to prevent a prior director from “inspecting documents generated
during [his] tenure.” 143 F.R.D. 241, 247 (D. Colo. 1992). The court reasoned that the situation is
analogous to “when parties with a common interest retain a single attorney to represent them.
When they later become adverse, neither is permitted to assert the attorney-client privilege as to
communications occurring during the period of common interest.” Id.
But courts have observed that Gottlieb’s approach is “discredited” and the “modern trend in
caselaw” follows the Montgomery approach. See Nunan v. Midwest, Inc., 814 N.Y.S.2d 891, 2006
WL 344550, at *7 (N.Y. Sup. 2006) (collecting cases); Las Vegas Sands v. Eighth Jud. Dist. Ct.,
331 P.3d 905, 913 (Nev. 2014). Another court has stated that “Gottlieb ma[d]e a fundamental error
by assuming that for a corporation there exists a ‘collective corporate client’ which may take a
position adverse to ‘management’ for purposes of the attorney-client privilege. There is but one
client, and that client is the corporation.” Milroy v. Hanson, 875 F. Supp. 646, 649 (D. Neb. 1995)
(citing Commodity Futures Trading Comm’n v. Weintraub, 471 U.S. 343, 348 (1985)). “As the
Supreme Court has stated, ‘for solvent corporations’ the ‘authority to assert and waive the
corporation’s attorney-client privilege’ rests with ‘management.’” Id. (quoting Weintraub, 471
U.S. at 348–49).



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         There is more. In Bushnell v. Vis Corp., the court adopted an approach redolent of
Montgomery. No. C-95-04256-MHP, 1996 WL 506914, at *8 (N.D. Cal. Aug. 29, 1996).
Specifically, the court found that the company “was the client” and that, “therefore, the attorney-
client . . . privilege could only be waived by [the company].” Id. (cleaned up). A former director
“had no authority to waive the attorney-client . . . privilege asserted by, [among others, the
company].” Id. (cleaned up). The court rejected the prior director’s argument that “he himself was
a client.” Id. And so, he “had no power to waive the attorney-client . . . privilege that [the company]
had the ability to assert.” Id. (cleaned up).

        There is more still. Even if the Court were to apply Pennsylvania law, recent cases support
the approach utilized by Montgomery, Bushnell, and so on.8 One court dismissed “Plaintiff’s
arguments under Gottlieb . . . [as] unavailing.” Conner v. Associated Radiologists, Inc., No. MC
20-1420, 2021 WL 615230, at *2 (W.D. Pa. Feb. 17, 2021). Another noted “the modern view”—
that when a litigant is adverse to their former company, “the privilege belongs to the corporation,
and if asserted, is effective to prevent disclosure[.]” Handy v. Delaware River Surgical Suites,
LLC, No. CV 19-1028, 2020 WL 3549203, at *1 n.1 (E.D. Pa. Feb. 6, 2020) (collecting cases,
including Montgomery).9

        Plaintiff’s current status as a litigant adverse to Defendants, coupled with his former
control-group status as a Fintex agent and co-venturer advancing Fintex’s interests, confirms
beyond cavil that Defendants did not waive privilege as to the Disputed Control Group Documents.

        Nevertheless, to move this case forward and relieve the Court of a protracted evaluation of
a multi-hundred-item privilege log, Defendants will voluntarily and completely waive this
privilege and produce the Disputed Control Group Documents.10 Defendants will also voluntarily




8
  The undersigned located one case that approvingly cites Gottlieb. Carnegie Hill Fin., Inc. v.
Krieger, No. 99-CV-2592, 2000 WL 10446, at *2 n.2 (E.D. Pa. Jan. 5, 2000) (“While there is no
clear authority in this Circuit upon which to rely, I find the court’s reasoning in Gottlieb . . .
persuasive.”). But that case is over twenty years old. And far newer cases in Pennsylvania have
found otherwise.
9
  Other courts have expressed support for Montgomery’s approach. For example, one court offered
the following rationale for Montgomery’s rule:
         A contrary rule—such as that set forth in Gottlieb . . . —would undermine the
         privilege. People may come and go within a control group, but a corporation has a
         legitimate expectation that a person who leaves the control group no longer will be
         privy to privileged information. To rule otherwise would defeat that expectation,
         and could chill the willingness of control group members to speak candidly on
         paper (or, these days, in electronic media) about privileged matters, knowing that
         some day one of their number may leave the control group and become adverse
         (whether through litigation or business activity) to the corporation.
Dexia Credit Local, 231 F.R.D. at 277; see also Gilday v. Kenra, Ltd., No. 1:09-CV-229-TWP-
TAB, 2010 WL 3928593, at *3–4 (S.D. Ind. Oct. 4, 2010) (adopting Montgomery’s approach).
10
     See FINTEX_026522 – FINTEX_027629.

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and nearly completely11 waive privilege and produce documents responsive to Plaintiff’s
Document Request 6.12

       And in keeping with this spirt, Defendants will also voluntarily submit supplementary
responses and produce documents to satisfy Plaintiff’s Proposed Order.13 Hopefully, Plaintiff will
follow suit.14

Happy New Year,

/s/ Erik R. Anderson

Erik Roberts Anderson
MCNEES WALLACE & NURICK LLC

cc:       All Counsel of Record (via ECF)




11
     Defendants’ privilege log is enclosed with this letter. See Doc. 42 § 1(b).
12
     Bates labeled at FINTEX_027630 – FINTEX_030296.
13
     See Doc. 44.
14
     See Doc. 48.

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Bates No.              OriginalFileName                    Email Sent From        Email Sent To          Email CC to            Email BCC to   Email Subject                   Date Created      Custodian         File Description Privilege          Description
FINTEX_029982          RE: Smith v. The Fintex Group LLC   lrothenberg@loeb.com   drew@fintex.group      david@fintex.group                    RE: Smith v. The Fintex Group   1/22/2024 18:51   Drew Weinstein    Microsoft Outlook Attorney Client   Comms. between Defendants and counsel regarding threat-of-
                       and Andrew Weinstein                                                                                                    LLC and Andrew Weinstein                                            Note                                litigation/settlement-demand letter from Plaintiff's counsel




FINTEX_029982          RE: Smith v. The Fintex Group LLC   drew@fintex.group      lrothenberg@loeb.com   david@fintex.group                    Re: Smith v. The Fintex Group   1/22/2024 7:09 PM Drew Weinstein    Microsoft Outlook Attorney Client   Comms. between Defendants and counsel regarding threat-of-
                       and Andrew Weinstein                                                                                                    LLC and Andrew Weinstein                                            Note                                litigation/settlement-demand letter from Plaintiff's counsel




FINTEX_029982          RE: Smith v. The Fintex Group LLC   lrothenberg@loeb.com   drew@fintex.group                                            Re: Smith v. The Fintex Group   1/22/2024 1:55 PM Drew Weinstein    Microsoft Outlook Attorney Client   Comms. between client and counsel regarding threat-of-
                       and Andrew Weinstein                                                                                                    LLC and Andrew Weinstein                                            Note                                litigation/settlement-demand letter from Plaintiff's counsel




FINTEX_029982-029983 RE: Smith v. The Fintex Group LLC     david@fintex.group     drew@fintex.group      lrothenberg@loeb.com                  Re: Smith v. The Fintex Group   1/22/2024 1:09 PM Drew Weinstein    Microsoft Outlook Attorney Client   Comms. between Defendants and counsel regarding threat-of-
                     and Andrew Weinstein                                                                                                      LLC and Andrew Weinstein                                            Note                                litigation/settlement-demand letter from Plaintiff's counsel




FINTEX_029983-029984 RE: Smith v. The Fintex Group LLC     drew@fintex.group      lrothenberg@loeb.com                                         RE: Smith v. The Fintex Group   1/22/2024 10:25 AM Drew Weinstein   Microsoft Outlook Attorney Client   Comms. between Defendants and counsel regarding threat-of-
                     and Andrew Weinstein                                                                                                      LLC and Andrew Weinstein                                            Note                                litigation/settlement-demand letter from Plaintiff's counsel
